       Case 2:22-cr-00080-DMG          Document 137         Filed 02/10/25    Page 1 of 1 Page ID #:796
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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                    CASE NUMBER:

                                                                           No. CR 22-00080-DMG
                                             PLAINTIFF(S)
                             v.
WAYNE NIX,                                                           NOTICE OF MANUAL FILING
                                                                           OR LODGING
                                           DEFENDANT(S).

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          Other:




February 10, 2025                                             Jeff Mitchell
Date                                                          Attorney Name
                                                              United States of America
                                                              Party Represented

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